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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

Vv. Cr. No. 18-10450-MLW
ERICK LOPEZ FLORES,
HENRI SALVADOR GUTIERREZ,
ELISEO VAQUERANO CANAS,
JONATHAN TERCERO YANES,
MARLOS REYES, and
DJAVIER DUGGINS,
Defendants.

ORDER

 

WOLF, D.J. February 4, 2022

In the February 3, 2022 Order, the court informed the parties
that it would at the February 7, 2022 hearing ask each defendant
if he had read, or had read to him, his Presentence Report,
including any Addendum, as required by Federal Rule of Criminal
Procedure 32(i) (1) (A). See Dkt. No. 847 44. The court notes that
it would be sufficient if a defendant only reviewed the Presentence
Report with his attorney and is familiar with it, including
material issues it raises. See, e.g., United States v. DeLeon, 704
F.3d 189, 196 (lst Cir. 2013).

In addition, the parties are hereby informed that the court
has received from Probation and read the grand jury testimony of
CW-22 (Bates #6900-6992), which Probation cited in response to
defendant Eliseo Vaquerano Canas' objection to the U.S.S.G. §3B1.4

use of a minor enhancement. The parties shall be prepared to
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address the implications of that testimony, particularly pages 1,

and 16-35.

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UNITED STATES DISTRICT JU
